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 11
 12
                        UNITED STATES DISTRICT COURT
 13                    CENTRAL DISTRICT OF CALIFORNIA
 14
 15   JIM BUSCAGLIA, and SYNDI               Case No.
 16   BUSCAGLIA, Individually and On
      Behalf of All Others Similarly         CLASS ACTION COMPLAINT
 17   Situated,                              FOR VIOLATIONS OF THE
 18                                          FEDERAL SECURITIES LAWS
                              Plaintiffs,
 19
 20               v.                         JURY TRIAL DEMANDED

 21   SNAP INC., EVAN SPIEGEL,
 22   DEREK ANDERSEN, JEREMI
      GORMAN, and REBECCA
 23   MORROW,
 24
                              Defendants.
 25
 26
 27
 28


                                        COMPLAINT
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  1          Plaintiffs Jim Buscaglia and Syndi Buscaglia (“Plaintiffs”), individually and on
  2 behalf of all others similarly situated, by and through their attorneys, allege the
  3 following upon information and belief, except as to those allegations concerning
  4 Plaintiffs, which are alleged upon personal knowledge. Plaintiffs’ information and
  5 belief is based upon, among other things, their counsel’s investigation, which includes
  6 without limitation: (a) review and analysis of regulatory filings made by Snap Inc.
  7 (“Snap” or the “Company”) with the United States (“U.S.”) Securities and Exchange
  8 Commission (“SEC”); (b) review and analysis of press releases and media reports
  9 issued by and disseminated by Snap; and (c) review of other publicly available
 10 information concerning Snap.
 11                    NATURE OF THE ACTION AND OVERVIEW
 12          1.    This is a class action on behalf of persons and entities that purchased or
 13 otherwise acquired Snap securities, and/or sold Snap put options, between July 22,
 14 2020 and October 21, 2021, inclusive (the “Class Period”). Plaintiffs pursue claims
 15 against the Defendants under the Securities Exchange Act of 1934 (the “Exchange
 16 Act”).
 17          2.    Snap purports to be a camera company, which offers the social media
 18 application Snapchat, an eyewear product that connects with Snapchat and captures
 19 video Spectacles, and advertising products including AR (augmented reality) and
 20 Snap ads. The Company was formerly known as Snapchat, Inc. and changed its name
 21 to Snap Inc. in September 2016. Snap relies on user data for its advertising business.
 22          3.    In June 2020, as part of an ongoing privacy push, Apple Inc. (“Apple”)—
 23 which developed and maintains the popular mobile operating system, iOS, for its
 24 mobile devices (the iPhone)—publicly announced new data privacy features for iOS.
 25 In April 2021, Apple released the new data privacy features for iOS.
 26          4.    Following Apple’s June 2020 announcement, Snap continuously
 27 downplayed and misled investors regarding the impact of Apple’s new data privacy
 28 features would have on its business.
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                                           COMPLAINT
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  1         5.    On October 22, 2021, its report for the third quarter of 2021. Therein,
  2 Snap announced weaker-than-expected revenue and guidance attributable to its
  3 advertising business, which were impacted by Apple’s privacy changes. Snap further
  4 disclosed the risks of heighted restrictions on the Company’s access and use of user
  5 data due to Apple’s privacy update had materialized, stating that “in April 2021 Apple
  6 issued an iOS update that imposes heightened restrictions on our access and use of
  7 user data” and “[t]hese changes have adversely affected our targeting, measurement,
  8 and optimization capabilities, and in turn affected our ability to measure the
  9 effectiveness of advertisements on our services. This has resulted in, and in the future
 10 is likely to continue to result in, reduced demand and pricing for our advertising
 11 products and could seriously harm our business.”
 12         6.    On this news, Snap’s stock price fell $19.97 per share, or 26%, to close
 13 at $55.14 per share on October 22, 2021, damaging investors.
 14         7.    Throughout the Class Period, Defendants made materially false and/or
 15 misleading statements, as well as failed to disclose material adverse facts about the
 16 Company’s business, operations, and prospects. Specifically, Defendants failed to
 17 disclose to investors: (1) Apple’s privacy changes would have, and were having, a
 18 material impact on the Company’s advertising business; (2) Snap overstated its ability
 19 to transition its advertising with Apple’s privacy changes; (3) Snap knew of, but
 20 downplayed, the risks of the impact that Apple’s privacy changes had on the
 21 Company’s advertising business; (4) Snap overstated its commitment to privacy; and
 22 (5) as a result of the foregoing, Defendants’ public statements and statements to
 23 journalists were materially false and/or misleading at all relevant times.
 24         8.    As a result of Defendants’ wrongful acts and omissions, and the
 25 precipitous decline in the market value of the Company’s shares, Plaintiffs and other
 26 Class members have suffered significant losses and damages.
 27
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                                          COMPLAINT
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  1                               JURISDICTION AND VENUE
  2         9.       The claims asserted herein arise under Sections 10(b) and 20(a) of the
  3 Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated
  4 thereunder by the SEC (17 C.F.R. § 240.10b-5).
  5         10.      This Court has jurisdiction over the subject matter of this action pursuant
  6 to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).
  7         11.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b)
  8 and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in
  9 furtherance of the alleged fraud or the effects of the fraud have occurred in this
 10 Judicial District. Many of the acts charged herein, including the dissemination of
 11 materially false and/or misleading information, occurred in substantial part in this
 12 Judicial District. In addition, the Company’s principal executive offices are located in
 13 this District.
 14         12.      In connection with the acts, transactions, and conduct alleged herein,
 15 Defendants directly and indirectly used the means and instrumentalities of interstate
 16 commerce, including the United States mail, interstate telephone communications,
 17 and the facilities of a national securities exchange.
 18                                           PARTIES
 19         13.      Plaintiff Jim Buscaglia, as set forth in the accompanying certification,
 20 incorporated by reference herein, purchased Snap securities and sold Snap put options
 21 during the Class Period, and suffered damages as a result of the federal securities law
 22 violations and false and/or misleading statements and/or material omissions alleged
 23 herein.
 24         14.      Plaintiff Syndi Buscaglia, as set forth in the accompanying certification,
 25 incorporated by reference herein, purchased Snap securities and sold Snap put options
 26 during the Class Period, and suffered damages as a result of the federal securities law
 27 violations and false and/or misleading statements and/or material omissions alleged
 28 herein.
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                                             COMPLAINT
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  1         15.   Defendant Snap is a Delaware corporation with its principal executive
  2 offices located at 3000 31st Street, Santa Monica, CA 90405. Snap’s shares trade on
  3 the New York Stock Exchange (“NYSE”) under the ticker symbol “SNAP.”
  4         16.   Defendant Evan Spiegel (“Spiegel”) is a co-founder of Snap and has
  5 served as the Company’s Chief Executive Officer and as a member of the Company’s
  6 board of directors since May 2012.
  7         17.   Defendant Derek Andersen (“Andersen”) has served as Snap’s Chief
  8 Financial Officer since May 2019.
  9         18.   Defendant Jeremi Gorman (“Gorman”) has served as Snap’s Chief
 10 Business Officer since November 2018.
 11         19.   Defendant Rebecca Morrow (“Morrow”) has served as Snap’s Chief
 12 Accounting Officer since September 2019.
 13         20.   Defendants Spiegel, Andersen, Gorman, and Morrow (collectively the
 14 “Individual Defendants”), because of their positions with the Company, possessed the
 15 power and authority to control the contents of the Company’s reports to the SEC,
 16 press releases and presentations to securities analysts, money and portfolio managers
 17 and institutional investors, i.e., the market. The Individual Defendants were provided
 18 with copies of the Company’s reports and press releases alleged herein to be
 19 misleading prior to, or shortly after, their issuance and had the ability and opportunity
 20 to prevent their issuance or cause them to be corrected. Because of their positions
 21 and access to material non-public information available to them, the Individual
 22 Defendants knew that the adverse facts specified herein had not been disclosed to,
 23 and were being concealed from, the public, and that the positive representations which
 24 were being made were then materially false and/or misleading. The Individual
 25 Defendants are liable for the false statements pleaded herein.
 26
 27
 28
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                                           COMPLAINT
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  1                           SUBSTANTIVE ALLEGATIONS
  2                                      Background
  3         21.   Snap purports to be a camera company, which offers the social media
  4 application Snapchat, an eyewear product that connects with Snapchat and captures
  5 video Spectacles, and advertising products including AR (augmented reality) and
  6 Snap ads. The Company was formerly known as Snapchat, Inc. and changed its name
  7 to Snap Inc. in September 2016.
  8         22.   In June 2020, as part of an ongoing privacy push, Apple—which
  9 developed and maintains the popular mobile operating system, iOS, for its mobile
 10 devices (the iPhone)—publicly announced new data privacy features for iOS. In April
 11 2021, Apple released the new data privacy features for iOS.
 12         23.   Snap relies on user data for its advertising business. Following Apple’s
 13 June 2020 announcement, Snap continuously downplayed and misled investors
 14 regarding the impact of Apple’s new data privacy features would have on its business.
 15                            Materially False and Misleading
 16                      Statements Issued During the Class Period
 17         24.   The Class Period begins on July 22, 2020. On that day, Snap filed with
 18 the SEC a quarterly report on Form 10-Q for the period ended June 30, 2020 (the
 19 “2Q20 Report”) which was signed by Defendants Andersen and Morrow. Attached to
 20 the 2Q20 Report were certifications pursuant to the Sarbanes-Oxley Act of 2002
 21 (“SOX”) signed by Defendants Andersen and Spiegel attesting to the accuracy of
 22 financial reporting, the disclosure of any material changes to the Company’s internal
 23 control over financial reporting and the disclosure of all fraud.
 24         25.   The 2Q20 Report stated the following, in pertinent part, regarding Snap’s
 25 advertising business:
 26         We generate substantially all of our revenues by offering various
            advertising products on Snapchat, which include Snap Ads and
 27
            Sponsored Creative Tools, and measurement services, referred to as
 28         advertising revenue.
                                              5
                                          COMPLAINT
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  1
                                         *      *     *
  2
  3         We sell advertising directly to advertisers (“Snap-sold” revenue) and
            certain partners that provide content on Snapchat (“media partners”) also
  4
            sell directly to advertisers (“partner-sold” revenue). . . .
  5
                                         *      *     *
  6
  7         We monetize our business primarily through advertising. Our
            advertising products include Snap Ads and Sponsored Creative Tools.
  8
            We measure our business using ARPU [average revenue per user]
  9         because it helps us understand the rate at which we’re monetizing our
 10         daily user base.

 11         (Emphasis added.)
 12
            26.   Contained among other specific and general risks regarding advertising,
 13
      the 2Q20 Report merely stated the following regarding Apple’s publicly known
 14
      privacy change:
 15
            Furthermore, changes to iOS or Android operating systems’ practices
 16         and policies, such as Apple’s upcoming iOS update that may impose
 17         heightened restrictions on our access and use of user data, may reduce
            the quantity and quality of the data and metrics that can be collected
 18         or used by us and our partners, and adversely affect our ability to
 19         effectively target advertisements to users and demonstrate the value of
            our advertisements to advertisers, any of which could reduce the demand
 20         and pricing for our advertising products and seriously harm our business.
 21         The impact of these proposed changes on the overall mobile
            advertising ecosystem, our business, and the developers, partners, and
 22         advertisers within our community is uncertain depending on how these
 23         changes are implemented, how we and the overall mobile advertising
            ecosystem adjusts, and how our partners, advertisers, and users respond,
 24         could seriously harm our business. Any adverse effects could be
 25         particularly material to us because we are still early in building our
            advertising business. Our advertising revenue could be seriously harmed
 26         by many other factors, including: … changes in our analytics and
 27         measurement solutions, including what we are permitted to collect and
            disclose under the terms of Apple’s and Google’s mobile operating
 28         system, that demonstrate the value of our advertisements and other
                                                 6
                                             COMPLAINT
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  1         commercial content; … our inability to collect and disclose data or
            access a user’s Identifier for Advertising or similar deterministic
  2
            identifier that new and existing advertisers may find useful[.]
  3
            (Emphasis added.)
  4
  5         27.   On February 4, 2021, during the fourth quarter 2020 earnings call,
  6 Defendant Gorman stated the following, in pertinent part, regarding the upcoming
  7 Apple update and the Company’s purported privacy commitment:
  8         I’ll take the IDFA [Apple’s Identifier for Advertisers] one first and the
            4x growth as you’re saying in our down funnel metrics, we’re also
  9
            thrilled to see that. But as it comes to IDFA and the changes, whether or
 10         not they will impact us. The reality is we admire Apple, and we believe
            that they are trying to do the right thing for their customers. Their focus
 11
            on protecting privacy is aligned with our values and the way that we’ve
 12         built our business from the very beginning. So the change here that
 13         we’re really focused on has less to do with IDFA for which Apple has
            long offered an opt-out. And instead on a much more broad policy
 14         change that requires Snapchatters to opt into tracking with other personal
 15         identifiers such as their e-mail address, which would make it harder for
            us and the overall digital ad ecosystem to match advertising outcomes.
 16         But we’ve been working really closely with Apple to implement
 17         SKAdNetwork, which is their privacy protective solution as well as
            building our own solutions that use aggregated data to protect privacy.
 18         We’ve been communicating very well with advertisers, we’re educating
 19         them, talking about them deeply about these coming changes and
            encouraging them to implement our Conversion API and
 20         Measurement Kit to mitigate any of this. And then longer term, we’re
 21         investing in using first-party data from our platform and providing more
            opportunities for on platform conversion, which will really help. Overall,
 22         we feel really well prepared for these changes. But changes to this
 23         ecosystem are usually disruptive and the outcome is uncertain.

 24         (Emphasis added.)
 25
            28.   On February 5, 2021, Snap filed with the SEC its yearly report on Form
 26
      10-K for the period ended December 31, 2020 (the “2020 Annual Report”) which was
 27
      signed by Defendants Andersen and Morrow. Attached to the 2020 Annual Report
 28
                                               7
                                           COMPLAINT
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  1 were certifications pursuant to SOX signed by Defendants Andersen and Spiegel
  2 attesting to the accuracy of financial reporting, the disclosure of any material changes
  3 to the Company’s internal control over financial reporting and the disclosure of all
  4 fraud.
  5          29.      The 2020 Annual Report stated the following, in pertinent part, regarding
  6 Snap’s advertising business:
  7          Our Advertising Products
  8
             We connect both brand and direct response advertisers to Snapchatters
  9          globally. Our ad products are built on the same foundation that makes
             our consumer products successful. This means that we can take the
 10
             things we learn while creating our consumer products and apply them to
 11          building innovative and engaging advertising products familiar to our
             community.
 12
 13          AR Ads: Advertising through Snap’s AR tools unlocks the ability to reach
             a unique audience in a highly differentiated way. Ads can be served as
 14
             Sponsored Lenses or Sponsored Filters. Lenses are designed through our
 15          camera to take advantage of the reach and scale of our augmented reality
 16          platform to create visually engaging 3D experiences. Filters are
             entertaining, artistic overlays that appear after you take a Snap. These
 17          Lenses and Filters can be memorialized on Snapchat, through Brand
 18          Profiles that aggregate content, filters, and lenses in a single, easy to find
             place.
 19          Snap Ads: We let advertisers tell their stories the same way our users do,
 20          using full screen videos with sound. These also allow advertisers to
             integrate additional experiences and actions directly within these
 21          advertisements, including watching a long-form video, visiting a
 22          website, or installing an app. Snap Ads include the following:

 23                • Single Image or Video Ads: These are full screen ads that are
 24                  skippable, and can contain an attachment to enable Snapchatters
                     to swipe up and take action.
 25
 26                • Story Ads: Story Ads are branded tiles that live within the
                     Discover section of the Stories tab that can be either video ads or
 27                  a series of 3 to 20 images.
 28
                                                  8
                                              COMPLAINT
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   1           • Collection Ads: Collection Ads feature four tappable tiles to
                 showcase multiple products, giving Snapchatters a frictionless
   2
                 way to browse and buy.
   3
   4           • Dynamic Ads: Dynamic ads leverage our machine learning
                 algorithm to match a product catalog to serve the right ad to the
   5             right Snapchatter at the right time.
   6
               • Commercials: Commercials are non-skippable for six seconds, but
   7             can last up to three minutes. These ads appear within Snapchat’s
   8             curated content.

   9        Campaign Management and Delivery: We aim to continually improve
  10        the way ads are purchased and delivered. We have invested heavily to
            build our self-serve advertising platform, which provides automated,
  11        sophisticated, and scalable ad buying and campaign management.
  12
            We offer the ability to bid for advertisements that are designated to drive
  13        Snapchatters to: visit a website, visit a local business, call or text a
  14        business, download an app, or return to an app. Additionally, our
            delivery framework continues to optimize relevance of ads across the
  15        entire platform by determining the best ad to show to any given user
  16        based on their real-time and historical attributes and activity. This
            decreases the number of wasted impressions while improving the
  17        effectiveness of the ads that are shown to our community. This helps
  18        advertisers increase their return on investment by providing more
            refined targeting, the ability to test and learn with different creatives
  19        or campaign attributes in real time, and the dynamics of our self-serve
  20        pricing.
  21        Measuring Advertising Effectiveness: We offer third-party and first-
  22        party solutions to provide a vast array of analytics on campaign
            attributes like reach, frequency, demographics, and viewability;
  23        changes in perceptions like brand favorability or purchase intent; and
  24        lifts in actual behavior like purchases, foot traffic, app installs, and
            online purchases.
  25
  26                                      *      *     *
  27        We monetize our business primarily through advertising. Our
  28        advertising products include Snap Ads and AR Ads. We measure our

                                                  9
                                              COMPLAINT
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   1        business using ARPU because it helps us understand the rate at which
            we are monetizing our daily user base.
   2
   3                                    *      *     *
            Revenue
   4
            We generate substantially all of our revenue through the sale of our
   5
            advertising products, which primarily include Snap Ads and AR Ads,
   6        and measurement services, referred to as advertising revenue. Snap Ads
            may be subject to revenue sharing arrangements between us and the
   7
            media partner. We also generate revenue from sales of our hardware
   8        product, Spectacles. This revenue is reported net of allowances for
            returns.
   9
  10                                    *      *     *
  11
            We generate substantially all of our revenues by offering various
  12        advertising products on Snapchat, which include Snap Ads and AR
  13        Ads, referred to as advertising revenue. AR Ads include Sponsored
            Filters and Sponsored Lenses. Sponsored Filters allow users to interact
  14        with an advertiser’s brand by enabling stylized brand artwork to be
  15        overlaid on a Snap. Sponsored Lenses allow users to interact with an
            advertiser’s brand by enabling branded augmented reality experiences.
  16
  17        (Emphasis added).

  18        30.   The 2020 Annual Report stated the following, in pertinent part, regarding
  19 the Company’s purported commitment to privacy, stating in part:
  20        Our Commitment to Privacy
  21
            Our approach to privacy is simple: Be upfront, offer choices, and never
  22        forget that our community comes first.
  23
            We built Snapchat as an antidote to the context-less communication that
  24        has plagued “social media.” Not so long ago, a conversation among
  25        friends would be just that: a private communication in which you knew
            exactly who you were talking to, what you were talking about, and
  26        whether what you were saying was being memorialized for eternity. . . .
  27
            When you read our Privacy Policy, we hope that you’ll notice how
  28        much we care about the integrity of personal communication. For
                                               10
                                            COMPLAINT
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   1        starters, we’ve written our Privacy Policy in plain language because we
            think it’s important that everyone understand exactly how we handle
   2
            their information. Otherwise, it’s hard to make informed choices about
   3        how you communicate. We’ve also created a robust Privacy Center
            where we show that context and choice are more than talking points.
   4
            There, we point out the many ways that users can control who sees
   5        their Snaps and Stories, and explain how long content will remain on
            our servers, how users can manage the information that we do have
   6
            about them, and much more. This is where you’ll also find our
   7        Transparency Report.
   8
            We also understand that privacy policies—no matter how ambitious—
   9        are only as good as the people and practices behind those policies. When
  10        someone trusts us to transmit or store their information, we know we
            have a responsibility to protect that information and we work hard to
  11        keep it secure. New features go through an intense privacy-review
  12        process—we debate pros and cons, and we work hard to build products
            we’re proud of and that we’ll want to use. We use Snapchat constantly,
  13        both at work and in our personal lives, and we handle user information
  14        with the same care that we want for our family, our friends, and
            ourselves.
  15
  16        (Emphasis added.)

  17        31.   Amongst other specific and general risks regarding advertising, the 2020
  18 Annual Report merely stated the following regarding Apple’s publicly known privacy
  19 change:
  20        Furthermore, changes to iOS or Android operating systems’ practices
  21        and policies, such as Apple’s upcoming iOS update that may impose
            heightened restrictions on our access and use of user data, may reduce
  22        the quantity or quality of the data and metrics that can be collected or
  23        used by us and our partners, or adversely affect our ability to effectively
            target advertisements to users or demonstrate the value of our
  24        advertisements to advertisers, any of which could reduce the demand and
  25        pricing for our advertising products and seriously harm our business. The
            impact of these proposed changes on the overall mobile advertising
  26        ecosystem, our business, and the developers, partners, and advertisers
  27        within our community is uncertain. Depending on how these changes are
            implemented, how we and the overall mobile advertising ecosystem
  28        adjusts, and how our partners, advertisers, and users respond, our
                                              11
                                           COMPLAINT
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   1        business could be seriously harmed. Any adverse effects could be
            particularly material to us because we are still early in building our
   2
            advertising business. Our advertising revenue could also be seriously
   3        harmed by many other factors, including: . . . changes in our analytics
            and measurement solutions, including what we are permitted to collect
   4
            and disclose under the terms of Apple’s and Google’s mobile operating
   5        systems, that demonstrate the value of our advertisements and other
            commercial content . . . our inability to measure the effectiveness of our
   6
            advertising or target the appropriate audience for advertisements[.]
   7
            (Emphasis added.)
   8
   9        32.   On July 22, 2021, during the second quarter 2021 earnings call,
  10 Defendant Gorman stated, in pertinent part, the following regarding the Apple’s
  11 privacy update and the Company’s position:
  12        Our ad platform is being utilized as an effective self-service tool to help
  13        advertisers of all types and sizes create, manage, and measure campaigns
            on Snapchat. Further, it is a reflection of our focus on privacy and
  14        innovation as we are delivering results for advertisers while also
  15        respecting the privacy of our community, which has been a core tenet
            since we launched ads on Snapchat. This year has clearly demonstrated
  16        how important it is to simultaneously meet these two objectives for our
  17        advertising partners. As Apple rolled-out its App Tracking
            Transparency-related changes near the end of Q2, we observed higher
  18        opt-in rates than we are seeing reported generally across the industry,
  19        which we believe is due in part to the trust our community has in our
            products and our business. Apple’s rollout of the most recent iOS
  20        update came later in Q2 than initially anticipated, and the pace of updates
  21        by iPhone users has also been slower than we anticipated. This has given
            us more time with advertisers to navigate the transition but also means
  22        the effects of these changes will come later than we initially expected.
  23
            We continue to work with our advertising partners on privacy-safe
  24        solutions and other attribution techniques. For example, we fully rolled
  25        out support of SKAdnetwork version 3.0, which we believe will aid in
            improving attribution for advertisers who have implemented Apple’s
  26        API. We also launched Advanced Conversions in Ads Manager, which
  27        allows advertisers to measure their campaigns via our privacy-protecting
            measurement stack. We are dedicated to delivering value for our
  28        advertising partners while respecting the privacy of our community, as
                                              12
                                           COMPLAINT
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   1        we have worked to do for many years. That said, it remains very early
            in the adoption of the iOS platform changes, and we will continue to
   2
            learn how these changes may impact our advertising partners, business,
   3        and the industry as a whole. We are seeing some initial signals as
            advertisers test and learn in this new environment and this is causing
   4
            some interruptions to demand that we had anticipated would be part of
   5        the adoption process, particularly in the direct response e-commerce and
            gaming sectors. It is too early to determine how long it will take until
   6
            these changes are fully adopted, the scale of the potential interruptions
   7        to demand, or the ultimate impact on the longer term growth of our
            business. . . .
   8
   9        We continue to invest heavily in video advertising, with the goal of
  10        driving results for our advertising partners and connecting them to the
            Snapchat Generation. For example, we worked with Nielsen to help US
  11        advertisers understand how to more efficiently reach their target
  12        audiences via Snap Ads. The Total Ad Ratings (TAR) study analyzed
            how over thirty cross-platform advertising campaigns reached people on
  13        both Snapchat and television. The analysis showed that Snapchat
  14        campaigns contributed an average of 16 percent incremental reach to
            advertisers’ target audiences, and over 70 percent of the Gen Z audience
  15        that was reached by Snapchat was not reached by TV-only campaigns.
  16        This is especially important as people are increasingly cutting the cord,
            and mobile content consumption continues to grow, presenting us with
  17        a large opportunity to help advertisers reach the Snapchat Generation
  18        at scale.

  19                                     *      *     *
  20
            I think the important thing about IDFA is to really understand that the
  21        solutions are not yet fully finalized. Everyone is still evolving, Apple,
  22        the entire industry is still evolving. And we’ve said this before, and I
            just want to reiterate that we genuinely support Apple’s approach.
  23        We've always believed that advertising should respect customer’s
  24        privacy at its core at Snap and the products that this amazing team has
            built for the last almost 10 years now. And we’ve been working really
  25        hard to make this transition smooth for our advertising partners as well
  26        as our businesses. So where we are in the cycle right now is that we
            rolled out full support of SKAdnetwork version 3.0, which we know
  27        will aid or we believe will aid in attribution for advertisers. And we’ve
  28        also implemented Apple’s API. In addition, we launched Advanced

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   1         Conversions in Ads Manager so advertisers can measure their
             campaigns with our privacy conscious measurement stack. And then,
   2
             you know, I think one of the things that we're observing here is that
   3         our opt in rates have been above what is sort of widely reported in both
             the press as well as with the analyst community. So that’s, that’s good,
   4
             but it remains so early in these iOS changes and there’s no question that
   5         it will be a change for the industry in and of itself. But you know, I think
             we prepared it the best that we can. The product teams and the
   6
             engineering teams have been working really closely with all of our
   7         partners and our sales teams to make sure that this transition for our
             advertisers is as smooth as possible.
   8
   9         (Emphasis added).
  10         33.   The above statements identified in ¶¶ 24-32 were materially false and/or
  11 misleading, and failed to disclose material adverse facts about the Company’s
  12 business, operations, and prospects. Specifically, Defendants failed to disclose to
  13 investors that: (1) Apple’s privacy changes would have, and were having, a material
  14 impact on the Company’s advertising business; (2) Snap overstated its ability to
  15 transition its advertising with Apple’s privacy changes; (3) Snap knew of, but
  16 downplayed, the risks of the impact that Apple’s privacy changes had on the
  17 Company’s advertising business; (4) Snap overstated its commitment to privacy; and
  18 (5) as a result of the foregoing, Defendants’ public statements and statements to
  19 journalists were materially false and/or misleading at all relevant times.
  20                                  The Truth Emerges
  21         34.   On October 22, 2021, Snap filed its third quarter 2021 report for the
  22 period ending September 30, 2021 with the SEC on From 10-Q (the “3Q21 Report”),
  23 disclosing the Company’s weaker-than-expected revenue and weaker-than-expected
  24 guidance because of its advertising business, including due to Apple’s privacy
  25 changes.
  26         35.   Further, the 3Q21 Report disclosed the risks of heighted restrictions on
  27 the Company’s access and use of user data due to Apple’s privacy update
  28 materialized, stating in pertinent part:
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   1        Furthermore, in April 2021 Apple issued an iOS update that imposes
            heightened restrictions on our access and use of user data. Google has
   2
            announced that it will implement similar changes with respect to its
   3        Android operating system and major web browsers, like Safari and
            Chrome, may make similar changes as well. These changes have
   4
            adversely affected our targeting, measurement, and optimization
   5        capabilities, and in turn affected our ability to measure the
            effectiveness of advertisements on our services. This has resulted in,
   6
            and in the future is likely to continue to result in, reduced demand and
   7        pricing for our advertising products and could seriously harm our
            business. The impact of these changes on the overall mobile advertising
   8
            ecosystem, our competitors, our business, and the developers, partners,
   9        and advertisers within our community is uncertain, and depending on
  10        how we, our competitors, and the overall mobile advertising ecosystem
            adjusts, and how our partners, advertisers, and users respond, our
  11        business could be seriously harmed. In addition, if we are unable to
  12        mitigate these and future developments, and alternative methods do not
            become widely adopted by our advertisers, then our targeting,
  13        measurement, and optimization capabilities will be materially and
  14        adversely affected, which would in turn continue to negatively impact
            our advertising revenue. Any adverse effects could be particularly
  15        material to us because we are still early in building our advertising
  16        business. . . .

  17        (Emphasis added.)
  18        36.   On this news, Snap’s stock price fell $19.97 per share, or 26%, to close
  19 at $55.14 per share on October 22, 2021, damaging investors.
  20        37.   As a result of Defendants’ wrongful acts and omissions, and the decline
  21 in the market value of the Company’s securities, Plaintiff and other Class members
  22 have suffered significant losses and damages.
  23                         CLASS ACTION ALLEGATIONS
  24        38.   Plaintiffs bring this action as a class action pursuant to Federal Rule of
  25 Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and
  26 entities that purchased or otherwise acquired Snap securities, and/or sold Snap put
  27 options, between July 22, 2020 and October 21, 2021, inclusive, and who were
  28 damaged thereby (the “Class”). Excluded from the Class are Defendants, the officers
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   1 and directors of the Company, at all relevant times, members of their immediate
   2 families and their legal representatives, heirs, successors, or assigns, and any entity in
   3 which Defendants have or had a controlling interest.
   4         39.   The members of the Class are so numerous that joinder of all members
   5 is impracticable. Throughout the Class Period, Snap’s shares actively traded on the
   6 NYSE. While the exact number of Class members is unknown to Plaintiffs at this
   7 time and can only be ascertained through appropriate discovery, Plaintiffs believe that
   8 there are at least hundreds or thousands of members in the proposed Class. Millions
   9 of Snap shares were traded publicly during the Class Period on the NYSE. Record
  10 owners and other members of the Class may be identified from records maintained by
  11 Snap or its transfer agent and may be notified of the pendency of this action by mail,
  12 using the form of notice similar to that customarily used in securities class actions.
  13         40.   Plaintiffs’ claims are typical of the claims of the members of the Class
  14 as all members of the Class are similarly affected by Defendants’ wrongful conduct
  15 in violation of federal law that is complained of herein.
  16         41.   Plaintiffs will fairly and adequately protect the interests of the members
  17 of the Class and have retained counsel competent and experienced in class and
  18 securities litigation.
  19         42.   Common questions of law and fact exist as to all members of the Class
  20 and predominate over any questions solely affecting individual members of the Class.
  21 Among the questions of law and fact common to the Class are:
  22               (a)    whether the federal securities laws were violated by Defendants’
  23 acts as alleged herein;
  24               (b)    whether statements made by Defendants to the investing public
  25 during the Class Period omitted and/or misrepresented material facts about the
  26 business, operations, and prospects of Snap; and
  27               (c)    to what extent the members of the Class have sustained damages
  28 and the proper measure of damages.
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   1         43.    A class action is superior to all other available methods for the fair and
   2 efficient adjudication of this controversy since joinder of all members is
   3 impracticable. Furthermore, as the damages suffered by individual Class members
   4 may be relatively small, the expense and burden of individual litigation makes it
   5 impossible for members of the Class to individually redress the wrongs done to them.
   6 There will be no difficulty in the management of this action as a class action.
   7                          UNDISCLOSED ADVERSE FACTS
   8         44.    The market for Snap’s securities was open, well-developed and efficient
   9 at all relevant times.     As a result of these materially false and/or misleading
  10 statements, and/or failures to disclose, Snap’s shares traded at artificially inflated
  11 prices during the Class Period. Plaintiffs and other members of the Class purchased
  12 or otherwise acquired Snap’s securities or sold Snap put options relying upon the
  13 integrity of the market price of the Company’s shares and market information relating
  14 to Snap, and have been damaged thereby.
  15         45.    During the Class Period, Defendants materially misled the investing
  16 public, thereby inflating the price of Snap’s securities, by publicly issuing false and/or
  17 misleading statements and/or omitting to disclose material facts necessary to make
  18 Defendants’ statements, as set forth herein, not false and/or misleading.            The
  19 statements and omissions were materially false and/or misleading because they failed
  20 to disclose material adverse information and/or misrepresented the truth about Snap’s
  21 business, operations, and prospects as alleged herein.
  22         46.    At all relevant times, the material misrepresentations and omissions
  23 particularized in this Complaint directly or proximately caused or were a substantial
  24 contributing cause of the damages sustained by Plaintiffs and other members of the
  25 Class. As described herein, during the Class Period, Defendants made or caused to
  26 be made a series of materially false and/or misleading statements about Snap’s
  27 financial well-being and prospects. These material misstatements and/or omissions
  28 had the cause and effect of creating in the market an unrealistically positive
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   1 assessment of the Company and its financial well-being and prospects, thus causing
   2 the Company’s shares to be overvalued and artificially inflated at all relevant times.
   3 Defendants’ materially false and/or misleading statements during the Class Period
   4 resulted in Plaintiffs and other members of the Class purchasing the Company’s
   5 securities at artificially inflated prices and selling Snap put options at artificially
   6 deflated prices, thus causing the damages complained of herein when the truth was
   7 revealed.
   8                                    LOSS CAUSATION
   9         47.    Defendants’ wrongful conduct, as alleged herein, directly and
  10 proximately caused the economic loss suffered by Plaintiffs and the Class.
  11         48.    During the Class Period, Plaintiffs and the Class purchased Snap’s
  12 securities at artificially inflated prices and sold Snap put options at artificially deflated
  13 prices and were damaged thereby. The price of the Company’s shares significantly
  14 declined when the misrepresentations made to the market, and/or the information
  15 alleged herein to have been concealed from the market, and/or the effects thereof,
  16 were revealed, causing investors’ losses.
  17                               SCIENTER ALLEGATIONS
  18         49.    As alleged herein, Defendants acted with scienter since Defendants knew
  19 that the public documents and statements issued or disseminated in the name of the
  20 Company were materially false and/or misleading; knew that such statements or
  21 documents would be issued or disseminated to the investing public; and knowingly
  22 and substantially participated or acquiesced in the issuance or dissemination of such
  23 statements or documents as primary violations of the federal securities laws. As set
  24 forth elsewhere herein in detail, the Individual Defendants, by virtue of their receipt
  25 of information reflecting the true facts regarding Snap, their control over, and/or
  26 receipt and/or modification of Snap’s allegedly materially misleading misstatements
  27 and/or their associations with the Company which made them privy to confidential
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   1 proprietary information concerning Snap, participated in the fraudulent scheme
   2 alleged herein.
   3               APPLICABILITY OF PRESUMPTION OF RELIANCE
   4                     (FRAUD-ON-THE-MARKET DOCTRINE)
   5         50.   The market for Snap’s securities was open, well-developed and efficient
   6 at all relevant times. As a result of the materially false and/or misleading statements
   7 and/or failures to disclose, Snap’s shares traded at artificially inflated prices during
   8 the Class Period. On September 24, 2021, the Company’s share price closed at a
   9 Class Period high of $ 83.11 per share. Plaintiffs and other members of the Class
  10 purchased or otherwise acquired the Company’s securities relying upon the integrity
  11 of the market price of Snap’s securities and market information relating to Snap, and
  12 have been damaged thereby.
  13         51.   During the Class Period, the artificial inflation of Snap’s shares was
  14 caused by the material misrepresentations and/or omissions particularized in this
  15 Complaint causing the damages sustained by Plaintiffs and other members of the
  16 Class. As described herein, during the Class Period, Defendants made or caused to
  17 be made a series of materially false and/or misleading statements about Snap’s
  18 business, prospects, and operations. These material misstatements and/or omissions
  19 created an unrealistically positive assessment of Snap and its business, operations,
  20 and prospects, thus causing the price of the Company’s shares to be artificially
  21 inflated at all relevant times, and when disclosed, negatively affected the value of the
  22 Company shares. Defendants’ materially false and/or misleading statements during
  23 the Class Period resulted in Plaintiffs and other members of the Class purchasing the
  24 Company’s shares at such artificially inflated prices, and selling put options at
  25 artificially deflated prices, and each of them has been damaged as a result.
  26         52.   At all relevant times, the market for Snap’s securities was an efficient
  27 market for the following reasons, among others:
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   1               (a)      Snap shares met the requirements for listing, and was listed and
   2 actively traded on the NYSE, a highly efficient and automated market;
   3               (b)      As a regulated issuer, Snap filed periodic public reports with the
   4 SEC and/or the NYSE;
   5               (c)      Snap regularly communicated with public investors via
   6 established market communication mechanisms, including through regular
   7 dissemination of press releases on the national circuits of major newswire services
   8 and through other wide-ranging public disclosures, such as communications with the
   9 financial press and other similar reporting services; and/or
  10               (d)      Snap was followed by securities analysts employed by brokerage
  11 firms who wrote reports about the Company, and these reports were distributed to the
  12 sales force and certain customers of their respective brokerage firms. Each of these
  13 reports was publicly available and entered the public marketplace.
  14        53.    As a result of the foregoing, the market for Snap’s securities promptly
  15 digested current information regarding Snap from all publicly available sources and
  16 reflected such information in Snap’s share price. Under these circumstances, all
  17 purchasers of Snap’s securities and sellers of Snap put options during the Class Period
  18 suffered similar injury through their transactions in Snap’s securities a presumption
  19 of reliance applies.
  20        54.    A Class-wide presumption of reliance is also appropriate in this action
  21 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States,
  22 406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded on
  23 Defendants’ material misstatements and/or omissions. Because this action involves
  24 Defendants’ failure to disclose material adverse information regarding the Company’s
  25 business operations and financial prospects—information that Defendants were
  26 obligated to disclose—positive proof of reliance is not a prerequisite to recovery. All
  27 that is necessary is that the facts withheld be material in the sense that a reasonable
  28 investor might have considered them important in making investment decisions.
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   1 Given the importance of the Class Period material misstatements and omissions set
   2 forth above, that requirement is satisfied here.
   3                                  NO SAFE HARBOR
   4         55.    The statutory safe harbor provided for forward-looking statements under
   5 certain circumstances does not apply to any of the allegedly false statements pleaded
   6 in this Complaint. The statements alleged to be false and misleading herein all relate
   7 to then-existing facts and conditions. In addition, to the extent certain of the
   8 statements alleged to be false may be characterized as forward looking, they were not
   9 identified as “forward-looking statements” when made and there were no meaningful
  10 cautionary statements identifying important factors that could cause actual results to
  11 differ materially from those in the purportedly forward-looking statements. In the
  12 alternative, to the extent that the statutory safe harbor is determined to apply to any
  13 forward-looking statements pleaded herein, Defendants are liable for those false
  14 forward-looking statements because at the time each of those forward-looking
  15 statements was made, the speaker had actual knowledge that the forward-looking
  16 statement was materially false or misleading, and/or the forward-looking statement
  17 was authorized or approved by an executive officer of Snap who knew that the
  18 statement was false when made.
  19                                     FIRST CLAIM
  20                  Violation of Section 10(b) of The Exchange Act and
  21                          Rule 10b-5 Promulgated Thereunder
  22                                 Against All Defendants
  23         56.    Plaintiffs repeat and re-allege each and every allegation contained above
  24 as if fully set forth herein.
  25         57.    During the Class Period, Defendants carried out a plan, scheme and
  26 course of conduct which was intended to and, throughout the Class Period, did: (i)
  27 deceive the investing public, including Plaintiffs and other Class members, as alleged
  28 herein; and (ii) cause Plaintiffs and other members of the Class to purchase Snap’s
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   1 securities at artificially inflated prices and sell Snap put options at artificially deflated
   2 prices.    In furtherance of this unlawful scheme, plan and course of conduct,
   3 Defendants, and each defendant, took the actions set forth herein.
   4         58.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii)
   5 made untrue statements of material fact and/or omitted to state material facts
   6 necessary to make the statements not misleading; and (iii) engaged in acts, practices,
   7 and a course of business which operated as a fraud and deceit upon the purchasers of
   8 the Company’s securities in an effort to maintain artificially high market prices for
   9 Snap’s shares in violation of Section 10(b) of the Exchange Act and Rule 10b-5. All
  10 Defendants are sued either as primary participants in the wrongful and illegal conduct
  11 charged herein or as controlling persons as alleged below.
  12         59.    Defendants, individually and in concert, directly and indirectly, by the
  13 use, means or instrumentalities of interstate commerce and/or of the mails, engaged
  14 and participated in a continuous course of conduct to conceal adverse material
  15 information about Snap’s financial well-being and prospects, as specified herein.
  16         60.    Defendants employed devices, schemes and artifices to defraud, while in
  17 possession of material adverse non-public information and engaged in acts, practices,
  18 and a course of conduct as alleged herein in an effort to assure investors of Snap’s
  19 value and performance and continued substantial growth, which included the making
  20 of, or the participation in the making of, untrue statements of material facts and/or
  21 omitting to state material facts necessary in order to make the statements made about
  22 Snap and its business operations and future prospects in light of the circumstances
  23 under which they were made, not misleading, as set forth more particularly herein,
  24 and engaged in transactions, practices and a course of business which operated as a
  25 fraud and deceit upon the purchasers of the Company’s securities during the Class
  26 Period.
  27         61.    Each of the Individual Defendants’ primary liability and controlling
  28 person liability arises from the following facts: (i) the Individual Defendants were
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   1 high-level executives and/or directors at the Company during the Class Period and
   2 members of the Company’s management team or had control thereof; (ii) each of
   3 these defendants, by virtue of their responsibilities and activities as a senior officer
   4 and/or director of the Company, was privy to and participated in the creation,
   5 development and reporting of the Company’s internal budgets, plans, projections
   6 and/or reports; (iii) each of these defendants enjoyed significant personal contact and
   7 familiarity with the other defendants and was advised of, and had access to, other
   8 members of the Company’s management team, internal reports and other data and
   9 information about the Company’s finances, operations, and sales at all relevant times;
  10 and (iv) each of these defendants was aware of the Company’s dissemination of
  11 information to the investing public which they knew and/or recklessly disregarded
  12 was materially false and misleading.
  13         62.   Defendants had actual knowledge of the misrepresentations and/or
  14 omissions of material facts set forth herein, or acted with reckless disregard for the
  15 truth in that they failed to ascertain and to disclose such facts, even though such facts
  16 were available to them. Such defendants’ material misrepresentations and/or
  17 omissions were done knowingly or recklessly and for the purpose and effect of
  18 concealing Snap’s financial well-being and prospects from the investing public and
  19 supporting the artificially inflated price of its shares. As demonstrated by Defendants’
  20 overstatements and/or misstatements of the Company’s business, operations, financial
  21 well-being, and prospects throughout the Class Period, Defendants, if they did not
  22 have actual knowledge of the misrepresentations and/or omissions alleged, were
  23 reckless in failing to obtain such knowledge by deliberately refraining from taking
  24 those steps necessary to discover whether those statements were false or misleading.
  25         63.   As a result of the dissemination of the materially false and/or misleading
  26 information and/or failure to disclose material facts, as set forth above, the market
  27 price of Snap’s shares was artificially inflated during the Class Period. In ignorance
  28 of the fact that market prices of the Company’s shares were artificially inflated, and
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   1 relying directly or indirectly on the false and misleading statements made by
   2 Defendants, or upon the integrity of the market in which the shares trades, and/or in
   3 the absence of material adverse information that was known to or recklessly
   4 disregarded by Defendants, but not disclosed in public statements by Defendants
   5 during the Class Period, Plaintiffs and the other members of the Class acquired Snap’s
   6 securities during the Class Period at artificially high prices and sold Snap put options
   7 at artificially deflated prices and were damaged thereby.
   8         64.    At the time of said misrepresentations and/or omissions, Plaintiffs and
   9 other members of the Class were ignorant of their falsity, and believed them to be
  10 true. Had Plaintiffs and the other members of the Class and the marketplace known
  11 the truth regarding the problems that Snap was experiencing, which were not
  12 disclosed by Defendants, Plaintiffs and other members of the Class would not have
  13 purchased or otherwise acquired their Snap securities or sold Snap put options, or, if
  14 they had acquired or sold such securities during the Class Period, they would not have
  15 done so at the artificially inflated prices which they paid or deflated prices at which
  16 they sold.
  17         65.    By virtue of the foregoing, Defendants violated Section 10(b) of the
  18 Exchange Act and Rule 10b-5 promulgated thereunder.
  19         66.    As a direct and proximate result of Defendants’ wrongful conduct,
  20 Plaintiffs and the other members of the Class suffered damages in connection with
  21 their respective purchases and sales of the Company’s securities during the Class
  22 Period.
  23                                    SECOND CLAIM
  24                     Violation of Section 20(a) of The Exchange Act
  25                            Against the Individual Defendants
  26         67.    Plaintiffs repeat and re-allege each and every allegation contained above
  27 as if fully set forth herein.
  28
                                               24
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   1         68.   Individual Defendants acted as controlling persons of Snap within the
   2 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their
   3 high-level positions and their ownership and contractual rights, participation in,
   4 and/or awareness of the Company’s operations and intimate knowledge of the false
   5 financial statements filed by the Company with the SEC and disseminated to the
   6 investing public, Individual Defendants had the power to influence and control and
   7 did influence and control, directly or indirectly, the decision-making of the Company,
   8 including the content and dissemination of the various statements which Plaintiffs
   9 contend are false and misleading. Individual Defendants were provided with or had
  10 unlimited access to copies of the Company’s reports, press releases, public filings,
  11 and other statements alleged by Plaintiffs to be misleading prior to and/or shortly after
  12 these statements were issued and had the ability to prevent the issuance of the
  13 statements or cause the statements to be corrected.
  14         69.   In particular, Individual Defendants had direct and supervisory
  15 involvement in the day-to-day operations of the Company and, therefore, had the
  16 power to control or influence the particular transactions giving rise to the securities
  17 violations as alleged herein, and exercised the same.
  18         70.   As set forth above, Snap and Individual Defendants each violated
  19 Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint.
  20 By virtue of their position as controlling persons, Individual Defendants are liable
  21 pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of
  22 Defendants’ wrongful conduct, Plaintiffs and other members of the Class suffered
  23 damages in connection with their purchases and sales of the Company’s securities
  24 during the Class Period.
  25                                PRAYER FOR RELIEF
  26         WHEREFORE, Plaintiffs pray for relief and judgment, as follows:
  27         (a)   Determining that this action is a proper class action under Rule 23 of the
  28 Federal Rules of Civil Procedure;
                                               25
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   1         (b)   Awarding compensatory damages in favor of Plaintiffs and the other
   2 Class members against all defendants, jointly and severally, for all damages sustained
   3 as a result of Defendants’ wrongdoing, in an amount to be proven at trial, including
   4 interest thereon;
   5         (c)   Awarding Plaintiffs and the Class their reasonable costs and expenses
   6 incurred in this action, including counsel fees and expert fees; and
   7         (d)   Such other and further relief as the Court may deem just and proper.
   8                              JURY TRIAL DEMANDED
   9         Plaintiffs hereby demand a trial by jury.
  10
       Dated: January 7, 2022                 GLANCY PRONGAY & MURRAY LLP
  11
  12                                          By: s/ Charles H. Linehan
                                              Robert V. Prongay
  13                                          Charles H. Linehan
  14                                          Pavithra Rajesh
                                              1925 Century Park East, Suite 2100
  15                                          Los Angeles, CA 90067
  16                                          Telephone: (310) 201-9150
                                              Facsimile: (310) 201-9160
  17
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  19                                          Frank R. Cruz
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  21                                          Telephone: (310) 914-5007
  22
                                              Counsel for Plaintiffs Jim Buscaglia and
  23                                          Syndi Buscaglia
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                         SWORN CERTIFICATION OF PLAINTIFF


                           SNAP, INC. SECURITIES LITIGATION


       I, Jim Buscaglia, certify that:

       1. I have reviewed the Complaint, adopt its allegations, and authorize the filing of a
          Lead Plaintiff motion on my behalf.

       2. I did not purchase the Snap, Inc. securities that are the subject of this action at the
                                s counsel or in order to participate in any private action arising
          under this title.

       3. I am willing to serve as a representative party on behalf of a class and will testify at
          deposition and trial, if necessary.

       4. My transactions in Snap, Inc. securities during the Class Period set forth in the
          Complaint are as follows:

               (See attached transactions)

       5. I have not sought to serve, nor served, as a representative party on behalf of a class
          under this title during the last three years, except for the following:

       6. I will not accept any payment for serving as a representative party, except to receive
          my pro rata share of any recovery or as ordered or approved by the court, including
          the award to a representative plaintiff of reasonable costs and expenses (including lost
          wages) directly relating to the representation of the class.


       I declare under penalty of perjury that the foregoing are true and correct statements.




    ________________                          _________________________________________
          Date                                              Jim Buscaglia
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                        SWORN CERTIFICATION OF PLAINTIFF


                          SNAP, INC. SECURITIES LITIGATION


       I, Syndi Buscaglia, certify that:

       1. I have reviewed the Complaint, adopt its allegations, and authorize the filing of a
          Lead Plaintiff motion on my behalf.

       2. I did not purchase the Snap, Inc. securities that are the subject of this action at the
                                s counsel or in order to participate in any private action arising
          under this title.

       3. I am willing to serve as a representative party on behalf of a class and will testify at
          deposition and trial, if necessary.

       4. My transactions in Snap, Inc. securities during the Class Period set forth in the
          Complaint are as follows:

              (See attached transactions)

       5. I have not sought to serve, nor served, as a representative party on behalf of a class
          under this title during the last three years, except for the following:

       6. I will not accept any payment for serving as a representative party, except to receive
          my pro rata share of any recovery or as ordered or approved by the court, including
          the award to a representative plaintiff of reasonable costs and expenses (including lost
          wages) directly relating to the representation of the class.


       I declare under penalty of perjury that the foregoing are true and correct statements.




    ________________                          _________________________________________
          Date                                              Syndi Buscaglia
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                                Jim and Syndi Buscaglia's
                             Transactions in Snap Inc. (SNAP)
                                     Common Stock
                 Date         Transaction Type          Quantity      Unit Price
                  10/29/2021       Bought                        2,500 $70.0000
                  10/29/2021       Bought                        5,000 $70.0000


                                        Options
  Date     Transaction Type    Contract Type        Exp / Strike      Quantity     Unit Price
10/21/2021       Sold               Put        Oct. 29, 2021 / $70          -19        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -2        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -5        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -1        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -5        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -1        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70          -10        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70          -10        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -4        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -1        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -2        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -1        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -1        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -2        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -5        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -1        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -1        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -2        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -1        $1.8400
10/21/2021       Sold               Put        Oct. 29, 2021 / $70           -1        $1.8400
10/28/2021     Assigned             Put        Oct. 29, 2021 / $70           25        $0.0000
10/30/2021     Assigned             Put        Oct. 29, 2021 / $70           50        $0.0000
